                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION



 MOBILITY WORKX, LLC,

                               Plaintiff,
                                                     Civil Action No.: 4:17-CV-00872-ALM
                v.

 CELLCO PARTNERSHIP D/B/A                            JURY TRIAL DEMANDED
 VERIZON WIRELESS,

                               Defendant.



                DECLARATION OF ROSS R. BARTON IN SUPPORT OF
                       VERIZON’S MOTIONS IN LIMINE


       I, ROSS R. BARTON, declare:

       1.      I am an attorney licensed to practice law in the States of North Carolina and

Virginia, and I am admitted to practice in the Eastern District of Texas. I am a Partner in the law

firm of Alston & Bird LLP and counsel for Defendant Cellco Partnership d/b/a Verizon Wireless

(“Verizon”). I am over 18 years of age and am competent to testify as to the matters set forth

herein. I make the following statements based upon my own personal knowledge, unless

expressly stated otherwise.

       2.      The document attached to this declaration as Exhibit 1 is a true and correct copy

of excerpts of the September 6, 2019 rough draft deposition transcript of Dr. Sukumaran Nair.

Highlighting has been added for the convenience of the Court.




                                                 1
         3.    The document attached to this declaration as Exhibit 2 is a true and correct copy

of excerpts of the June 20, 2019 Updated Expert Report by Dr. Sukumaran Nair. Highlighting

has been added for the convenience of the Court.

         4.    The document attached to this declaration as Exhibit 3 is a true and correct copy

of excerpts of Plaintiff’s Supplemental Responses to Defendant’s First Set of Requests for

Admission Number 46 and Beyond to Plaintiff, dated June 14, 2019. Highlighting has been

added for the convenience of the Court.

         5.    The document attached to this declaration as Exhibit 4 is a true and correct copy

of excerpts of the June 29, 2018 P.R. 3-1 Disclosure of Asserted Claims and Infringement

Contentions for U.S. Patent No. 8,231,417. Highlighting has been added for the convenience of

the Court.

         6.    The document attached to this declaration as Exhibit 5 is a true and correct copy

of excerpts of the June 29, 2018 P.R. 3-1 Disclosure of Asserted Claims and Infringement

Contentions for U.S. Patent No. 7,231,330. Highlighting has been added for the convenience of

the Court.

         7.    The document attached to this declaration as Exhibit 6 is a true and correct copy

of excerpts of Plaintiff’s Responses and Objections to Plaintiff’s [sic] First Set of Interrogatories

to Defendant [sic], dated June 10, 2019. Highlighting has been added for the convenience of the

Court.

         8.    The document attached to this declaration as Exhibit 7 is a true and correct copy

of excerpts of the Rebuttal Expert Report of Dr. Sukumaran Nair Regarding the Validity of U.S.

Patent Numbers 8,231,417 and 7,231,330, dated July 5, 2019. Highlighting has been added for

the convenience of the Court.




                                                  2
       9.     The document attached to this declaration as Exhibit 8 is a true and correct copy

of Elbit Sys. Land & C4I Ltd. v. Hughes Network Sys., LLC, 2:15-cv-37-RWS-RSP (E.D. Tex.

July 25, 2017). Highlighting has been added for the convenience of the Court.

       10.    The document attached to this declaration as Exhibit 9 is a true and correct copy

of Barry v. Medtronic, 1:14-cv-104-RC (E.D. Tex. Oct. 28, 2016). Highlighting has been added

for the convenience of the Court.

       11.    The document attached to this declaration as Exhibit 10 is a true and correct copy

of Rembrandt Wireless Techs., LP v. Samsung Elecs. Co., 2:13-cv-213-JRG-RSP (E.D. Tex. Jan.

31, 2015). Highlighting has been added for the convenience of the Court.

       12.    The document attached to this declaration as Exhibit 11 is a true and correct copy

of Intellectual Ventures I LLC v. T-Mobile USA Inc., 2:17-cv-577-JRG (E.D. Tex. Jan. 8, 2019).

Highlighting has been added for the convenience of the Court.

       13.    The document attached to this declaration as Exhibit 12 is a true and correct copy

of Implicit, LLC v. Trend Micro, Inc., 6:16-cv-80-JRG (E.D. Tex. Oct. 3, 2017). Highlighting

has been added for the convenience of the Court.

       14.    The document attached to this declaration as Exhibit 13 is a true and correct copy

of Huawei Techs. Co. v. T-Mobile US, Inc., 2:16-cv-52-JRG-RSP (E.D. Tex. Sept. 29, 2017).

Highlighting has been added for the convenience of the Court.

       15.    The document attached to this declaration as Exhibit 14 is a true and correct copy

of SimpleAir, Inc. v. Google Inc., No. 2:14-cv-11-JRG (E.D. Tex. Oct. 6, 2015). Highlighting

has been added for the convenience of the Court.




                                               3
       16.     The document attached to this declaration as Exhibit 15 is a true and correct copy

of Polaris PowerLED Techs. LLC v. Samsung Elecs. Am., Inc., No. 2:17-cv-00715-JRG (E.D.

Tex. June 7, 2019). Highlighting has been added for the convenience of the Court.

       17.     The document attached to this declaration as Exhibit 16 is a true and correct copy

of Stragent, LLC v. Intel Corp., No. 6:11-cv-421-TBD-JDL (E.D. Tex. Feb. 27, 2014).

Highlighting has been added for the convenience of the Court.



       I declare under the penalty of perjury under the laws of the United States of America that

the foregoing is true and correct. Executed on this 10th day of September, 2019, in Charlotte,

North Carolina.




                                                            Ross R. Barton




                                                4
